Case 1:20-cv-00929-RDB Document 33 Filed 04/24/20 Page 1 of 1

FILED .
pisTRIcT COM

IN THE UNITED STATES DISTRICT: COURT
FOR THE DISTRICT OF RPE ZN tM 3 9: 43

LEADERS OF A BEAUTIFUL * eLERK’ pice
STRUGGLE, ef al, cl BAL (MORE
* » pgputt
Plaintiffs, sY
*K
Fe Civil Action No. RDB-20-0929
BALTIMORE POLICE .
DEPARTMENT, e¢ ai,
*
Defendants.
« ‘
* * * * * * * * x of * # i

ORDER
For the reasons stated in the accompanying Memorandum Opinion, IT IS HEREBY

ORDERED this 24th day of April, 2020 that:

1. Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 2) is DENIED;
2. The AIR pilot program may PROCEED;
3. The Clerk of this Court shall transmit copies of this Order and accompanying

Memorandum Opinion to counsel.

9. Zon8

Richard D. Bennett
United States District Judge
